                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


                                                    )
UNITED STATES OF AMERICA                            )
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               v.                                   )       CRIM. NO. 3:13-CR-226(RNC)
                                                    )
DANIEL E. CARPENTER, et al.                         )
                                                    )      JUNE 6, 2014
       Defendants                                   )
---------------------------)
         DEFENDANT CARPENTER'S BRIEF IN SUPPORT OF THE
   EMERGENCY MOTION TO DISMISS THE SUPERSEDING INDICTMENT
    FOR LACK OF FEDERAL JURISDICTIONIVENUE AND SUFFICIENCY
               OF ALLEGATIONS RE: TITLE 18 CRIMES

                              PRELIMINARY STATEMENT

       In December, 2013, a grand jury returned an indictment against both Daniel

Carpenter and Wayne Bursey, accusing them ofviolating 18 U.S.C. §1349 (conspiracy to

commit mail and wire fraud); 18 U.S.C. §1343 (wire fraud); 18 U.S.C. §1341 (mail

fraud); 18 U.S.C. §2 (aiding and abetting). On May 14,2014, the grand jury returned a

superseding indictment adding on 23 additional counts, including Conspiracy to Commit

Money Lalmdering under 18 U.S.C. § 1956(h); Illegal Monetary Transactions under 18

U.S.C. §1957; Money Laundering lmder 18 U.S.C. § 1956(a)(I)(A)(i); and Aiding and

Abetting under 18 U.S.C. §2. The Superseding Indictment (the "Indictment"), however,

as it relates to Mr. Carpenter, fails to allege facts sufficient to constitute a federal

offense. Accordingly, the allegations of the Indictment are insufficient to invoke the

jurisdiction of this Court, as they fail to satisfy the legal requirement that they state facts



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sufficient to malee out a violation of the federal mail and wire fraud statutes or the

money-laundering statutes. Therefore, for the reasons which follow, the Indictment

should be dismissed in its entirety.

       This Indictment arose out of an ongoing investigation involving several

individuals, including J. Edward Waesche, IV, an insurance broker licensed to sell life

insurance in numerous states, including Connecticut. Mr. Waesche worked with such

carriers as Lincoln National Corporation, the Phoenix Companies, and Penn Mutual

Insurance Company for many years. As a duly licensed agent, he was expected to

operate fairly, honestly, and truthfully with these and other insurance companies. They

relied upon his honesty. Part of his job was to obtain information from various applicants

for insurance and to complete applications for insurance, knowing that others would

rightfully rely upon his representations as truthful and complete.

       In the instant matter, Mr. Carpenter, as well as co-defendant Wayne Bursey, also

relied upon Mr. Waesche to be honest, fair, and truthful. Beginning in 2006, Mr.

Waesche and others engaged in a scheme to defraud not only the defendants but the

Charter Oale Trust (hereinafter the "Charter Oale Trust" or the "Trust"), an employee

welfare benefit plan and trust, by providing false information to them in order to induce

the Charter Oak Trust to allow Mr. Waesche's clients to participate in an employee

welfare benefit plan under the Charter Oak Trust program. Part of said scheme was to

submit to the Charter Oak Trust false insurance applications that, among other things,

contained several false statements and sometimes misrepresented the financial status of

the proposed insureds to justify the issuance of large face amolmt, high end universal life


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insurance policies. By filing such applications, Mr. Waesche defrauded not only the

respective carriers but also the Charter Oak Trust and Mr. Carpenter's company, which

funded most of the policies through a funding arrangement with the Trust. Mr. Waesche

did so to obtain for himself alone substantial commission payments from the carriers,

paid for by premiums from the Charter Oak Trust, which would result from his falsely

inducing the Charter Oak Trust to allow these proposed insureds to participate in the

employee welfare benefit trust funded by Mr. Carpenter's company. Mr. Waesche knew

that, in order for these premiums to be paid by the Charter Oak Trust, the proposed

insureds were required to meet certain financial wealth criteria. Mr. Waesche, now an

admitted felon, caused false financial statements and false reports to be submitted to both

the Charter Oak Trust and Mr. Carpenter's company, as well as the to the respective

carriers, lmowing that the Trustee eMr. Bursey) and others, including Mr. Carpenter,

would rely upon the misrepresentations made by Mr. Waesche and other brokers.

       As a result ofMr. Waesche's fraudulent activities, businesses associated with Mr.

Carpenter funded policies in the Charter Oak Trust in which they would never have

invested had Mr. Carpenter lmown the truth. Certain hedge funds, such as Ridgewood

Capital, also relied upon false documents generated by Mr. Waesche to become

financially involved with the Charter Oak Trust and Mr. Carpenter's company. They

were apparently duped by Mr. Waesche's false statements as well.

       The claim in the instant Indictment is that at some point Mr. Carpenter and Wayne

Bursey, Trustee of the Charter Oak Trust, conspired with Mr. Waesche to falsely induce

various named carriers to issue various universal life policies to the Charter Oak Trust,


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the owner and beneficiary of the policies, for the benefit of the various insureds. The

Indictment does not, however, allege that Mr. Carpenter ever met any of the insureds,

Nor does it allege that Mr. Carpenter filled out, prepared or submitted any of the

questionable insurance applications which are the subject of the Indictment. Mr.

Carpenter denies any lmowledge that Mr. Waesche prepared and submitted false financial

statements so that he, Mr. Waesche, could obtain conmlissions funded by the premium

payments of the Charter Oak Trust, so clearly Mr. Carpenter cannot be part of any

scheme to defraud anyone.

       The government further claims that Mr. Carpenter conspired with others to submit

misleading applications concerning the source of funding of such policies; Mr. Carpenter

denies the same. There is no allegation that Mr. Carpenter submitted the applications,

only the claim that Mr. Carpenter would make money if the various carriers issued the

policies. In fact, it is indisputable (and even the government recognizes the fact) that Mr.

Carpenter lost millions of dollars, in significant part because ofMr. Waesche's admitted

criminal conduct in submitting false financial information. The alleged insurance carrier

"victims" made millions of dollars in premiums on the life insurance policies, and Mr.

Waesche made a lot of money in commissions, but Mr. Carpenter lost millions of dollars

through his various companies, which did nothing more than provide funding for the

Charter Oak Trust to purchase the policies.

       The Indictment, if carefully read, fails, for the reasons which follow, to state a

legitimate mail and wire fraud case against Mr. Carpenter, and therefore the money

laundering allegations are wholly inadequate as they are erroneously based on both a


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legal fiction and a legal impossibility. Additionally, as to most of the counts in the

Indictment, the allegations reveal that Connecticut is not the proper venue for this

prosecution, and that the prosecution is time-barred for virtually all of the counts, even

assuming they could withstand the jurisdictional scrutiny below.

   I. The Indictment Must Be Dismissed For Lack of Federal Jurisdiction

       Before it can do anything else, a federal court must determine that it has subject

matter jurisdiction to hear a case. Federal courts are courts oflimitedjurisdiction, and

not all frauds rise to the level of conduct falling within the federal mail and wire fraud

statutes or involve the United States of America in such a way that would invoke federal

jurisdiction. The federal courts have consistently held to the principle that once

jurisdiction is challenged, the District Court has no authority to do anything but to take

action on the motion to determine whether or not it has jurisdiction to proceed. As the

Supreme Court held in The State of Rhode Island v. The State of Massachusetts, 37 U.S.

657 (1838), once the question of jurisdiction is raised "it must be considered and decided

before the court can move one step further" (emphasis added) rd. at 719. "Jurisdiction

cannot be assumed by a district court nor conferred by agreement of parties, but it is

incumbent upon [the US Attorney] to allege in clear terms, the necessary facts showing

jurisdiction which must be proved by convincing evidence." Harris v. American Legion,

162 F. Supp. 700 (1958), see also McNutt v. General Motors Acceptance, 298 U.S. 178

(1936).

       Mr. Carpenter respectfully submits that this Court does not have jurisdiction

because the federal mail and wire fraud statutes do not purport to reach all frauds, but


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only those "limited instances in which the use of the mails is a part of the execution of the

fraud, leaving all other cases to be dealt with by appropriate state law." Kann v. United

States, 323 U.S. 88 (1944) (emphasis added). See also United States v. Maze, 414 U.S.

395 (1974). In this case, the government's indictment not only fails to address all five

critical elements of mail and wire fraud, it appears that every single count in the

Indictment involves an email, letter, or wire allegedly involving Mr. Carpenter that came

after the application for insurance complained about. If the alleged fraud was falsely

filling out and submitting via the mails an allegedly fraudulent insurance application,

then all of these counts in the Indictment relate to acts occurring after the fraud had come

to its full fruition. In all of these cases, the allegedly fraudulent insurance application had

been sent to the insurance carrier and the policy had been approved before Mr. Carpenter

even knew about the insurance policy. Therefore, the insurance policies had already been

issued based on the allegedly false information provided by the Insured or by the Agent

(such as Mr. Waesche) that signed the application. Mr. Carpenter's name is nowhere to

be found on any of the Charter Oak Trust applications, nor did he fill out, sign or submit

any life insurance application mentioned in the Indictment, or any application dealing

with COT for that matter. Similarly, if the mail and wire fraud counts are dismissed for

lack of jurisdiction, then the money laundering counts are doomed as well because the

"money laundering" is based on the alleged "specified tmlawful activity" of mail and

wire fraud. Ergo, if there is no fraud, there can be no "specified unlawful activity" based

on the non-fraudulent activity, and there can be no "knowledge" of "specified unlawful

activity" that does not exist.


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       In Maze, the Supreme Court reversed the mail fraud conviction, concluding that

the success of Maze's scheme did not depend in any way on the mailings at issue,

focusing on "the more difficult question [of] whether [the] mailings were sufficiently

closely related to [Maze's] scheme to bring his conduct within the statute." Maze, 414

U.S. at 399, 402. Here, as in Maze, the success of the alleged insurance application

scheme clearly did not depend in any way on the use of mails or wires by Mr. Carpenter

or his company, as the alleged uses ofthe mails and wires all occurred after the alleged

fraud was complete, and the insurance policies had already been approved and issued

based on the allegedly false information.

       Even assuming that some answers on the insurance applications were incorrect,

virtually all those insurance applications were all submitted between 2006 and 2008, and

thus the alleged scheme had already come to fruition when the insurance carriers

approved the underwriting and issued the policies. All of the counts of the Indictment

concerning Mr. Carpenter list mailings and wires that have nothing at all to do with the

allegedly fraudulent filling out and submission of allegedly false insurance applications

to the can"iers. ("Congress could have drafted the mail fraud statute so as to require only

that the mails be in fact used as a result of the fraudulent scheme. But it did not do this ...

."). Maze, supra at 405; see also United States v. Tackett, 646 F.2d 1240,1244 (8th Cir.

1981) (liThe statute does not reach all mailings resulting from a fraudulent scheme, but

only those which are in furtherance of the scheme. ") (emphasis added). The word

"furtherance" in this case means that the mailings and wires must be in some way

connected to the fraud. If the fraud was submitting an allegedly false insurance


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application, those mailings and wires are not listed here, they were not done in the district

of Connecticut, and certainly not done by Mr. Carpenter. Accordingly, the federal mail

and wire fraud statutes have not been properly invoked in this case, and this Court lacks

jurisdiction to proceed any further with this case. The Indictment should be dismissed

forthwith as a matter oflaw.

   II. The Indictment Must Be Dismissed Because It Fails To Properly Allege All Of
         The Elements Of Mail and Wire Fraud

       An indictment that fails to allege each and every material element of a crime is

defective on its face and must be dismissed as a matter oflaw. United States v. Kurtz,

2008 WL 1820903 (W.D.N.Y. April 21, 2008). Specifically, the Indictment must be

dismissed because (1) it fails to allege that the insurance carriers as "victims" were

deprived of any "property" within the meaning of the mail and wire fraud statutes; (2) it

fails to allege that Mr. Carpenter had the mens rea or "specific intent" to defraud the

carriers of any property; and (3) it alleges no mailing or wiring that was actually in the

furtherance of the scheme to defraud or that was a necessary part of the fraud, as required

by the Supreme Court in Parr v. United States, 363 U.S. 370 (1960), Maze. supra, and

Karm, supra. For these reasons, as written, the Indictment is fatally defective and

insufficient on its face. It must be dismissed.

       In order to state a mail and/or wire fraud offense, the government must plead

sufficient facts that allege that the defendant (1) used either mail or wire communications

in the foreseeable furtherance, (2) of a scheme to defraud, (3) involving a material

deception, (4) with the specific intent to deprive another of, (5) property. See report to



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Congress on the elements of mail and wire fraud by the Congressional Research Service,

CRS Report R41931, Mail and Wire Fraud: An Abridged Overview of Federal Criminal

Law, by Charles Doyle, July 21,2011. Failure to properly allege each and everyone of

these material elements with sufficient facts renders an indictment facially invalid.

"Where guilt depends so crucially upon such a specific identification of fact, our cases

have uniformly held that an indictment must do more than simply repeat the language of

the criminal statute." United States v. Russell, 369 U.S. 749, 764 (1962).

       The "essential elements of a mail or wire fraud violation are (1) a scheme to

defraud, (2) money or property as the object of the scheme, and (3) use of the mails or

wires to further the scheme." Fountain v. United States, 357 F.3d 250, 255 (2d Cir.

2004), cert. denied, 544 U.S. 1017 (2005) (quotation marks, citation, and brackets

omitted). Because the mail fraud and the wire fraud statutes use the same relevant

language, they are analyzed the same way. United States v. Schwartz, 924 F.2d 410,416

(2d Cir.1991). In the context of mail fraud and wire fraud, "the words 'to defraud'

commonly refer 'to wronging one in his property rights by dishonest methods or

schemes,' and 'usually signify the deprivation of something of value by trick, deceit,

chicane or overreaching.'" McNally v. United States, 483 U.S. 350, 358 (1987), quoting

Hammerschmidt v. United States, 265 U.S. 182, 188 (1924). Although the Indictment

need not show that the intended victim of the fraud was actually harmed, it must show

that the defendant contemplated doing actual harm to the insurance carriers. He must

have intended to do something more than merely deceiving the victim. See United States

v. Regent Office Supply Co., 421 F.2d 1174,1180-81 (2d Cir.1970).


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         As a consequence, the deceit practiced must be related to the contemplated harm,

and that harm must be found to reside in the bargain sought to be struck. Id. at 1182.

The Charter Oak Trust, the owner ofthe policies in question, paid tens of millions of

dollars in premilun to the calTiers involved. Any fraud in this case was committed

against Mr. Carpenter and his company Grist Mill Capital, LLC, which provided the

funding for the insurance policies, as well as the Charter Oak Trust, by the duly licensed

brokers, who were approved by the so-called "victim" calTiers and who filled out and

submitted the insurance applications at issue in this case. Had Mr. Carpenter or the

Charter Oak Trust or others known that some of the insureds and insurance agents,

certified by the calTiers, themselves, conspired to mislead the Charter Oak Trust and Mr.

Carpenter and others, then the Charter Oak Trust and others would not have allowed

them to participate in the employee welfare benefit trust offered by the Charter Oak

Trust.

         Even if the govelTUllent's alleged story of the fraud made sense, which it clearly

does not, there would be zero value to Mr. Carpenter or anyone else to be the owner of

fraudulently secured policies, because as fraudulent contracts they could be "voided" or

"rescinded" at any time up to six years after issuance. They would have zero value - no

bids - in the life settlement secondary market, assuming arguendo that there was still

such a market after the financial collapse in 2008 of Lehmann Brothers, Bear Sterns, and

AIG (the big three of the Life Settlement Market). In the Indictment, the govelTUllent

paints the "STOLl" (Stranger Originated Life Insurance) market as a totally legal and

legitimate, but somewhat "gray" offshoot, of the viatical and life settlement secondary


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markets for life insurance policies, and all three markets collapsed in 2008 due to the

Great Recession. And, unlike the stock market that hit its low in March 2009 and has

since recovered, there appears to be no surviving firms in the life settlement business.

That is why, when Ridgewood foreclosed on Grist Mill Capital and took all of the

policies, they ended up selling the policies at an amolmt far less than the premiums paid.

If the policies were obtained by fraud, there would have been "no-bids" or "zero" bids.

Contrary to the government's specious arguments, there would be no value to any life

insurance policy procured by fraud.

       Furthermore, it is well established that a mere breach of contract does not

constitute fraud nor does every mailing or wire that is part of an actual fraud rise to the

level of federal mail and wire fraud. Not every use of the mails or wires in furtherance of

an unlawful scheme to deprive another of property constitutes mail or wire fraud. Nor

does a breach of contract in itself constitute a scheme to defraud. See, ~, United States

v. Kreimer, 609 F.2d 126, 128 (5th Cir. 1980) ("The [mail fraud] statute does not reject

all business practices that do not fulfill expectations, nor does it taint every breach of a

business contract"); McEvoy Travel Bureau, Inc.v. Heritage Travel, Inc., 904 F.2d 786,

791-92 (lst Cir. 1990).

       Moreover, it is not enough to show that the insurance carriers might have been

"deceived" into doing a deal that they might not normally do - in this case issue an

alleged STOLl policy. Even assuming arguendo the truth of the govermnent's STOLl

allegations, deceiving an insurance carrier into issuing an insurance contract does not

create mail or wire fraud:


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       As in Starr, the indictment here does not allege ... that there was a
       "discrepancy between benefits reasonably anticipated" and actual benefits
       received. And as in Regent Office, it fails to allege that [the defendant]
       misrepresented "the nature of the bargain." Instead, the indictment states
       only that [the defendant's] misrepresentation induced [the insurance
       carrier] to enter into a transaction it would otherwise have avoided.
       Because it does not assert that [the defendant's] misrepresentation had
       "relevance to the object of the contract," we do not think it is legally
       sufficient (emphasis added).

United States v. Shellef, 507 F.3d 82,109 (2d Cir. 2007).

       The Court established this major flaw in the colloquy between the Court and the

AUSA Novick, where the government admitted they had not indicted the insureds who

allegedly filled out the false applications, or even the brokers who submitted the alleged

false applications to the carriers. Instead, they indicted Mr. Carpenter, who never met or

talked to the straw Insureds or brokers, and whose name is nowhere to be found on the

allegedly false applications. Mr. Carpenter also did not review or sign any of the life

insurance applications. Despite this fact, Mr. Carpenter's life, career, and reputation have

been destroyed by numerous defamatory press releases. As Supreme Court Justice

Kennedy noted, just being indicted by the government is a life-changing experience,

because in the time period between indictment and trial, the accused may suffer ruinous

consequences to his reputation, his employment, and his future business opportunities

from which he may never recover, even ifhe is later acquitted. See Gentile v. Nevada,

501 U.S. 1030 (1991). For this reason, Mr. Carpenter respectfully moves this Court to

immediately dismiss this facially defective Indictment.

       The government's futile attempt to solve this obvious problem by replicating the

inapposite allegations in the indictment in United States v. Binday, 908 F.Supp 2d 485


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(SDNY 2012), is equally unavailing. Unlike the instant matter, not only did Binday, the

broker, solicit the "straw-insureds" in his case, he filled out and signed the allegedly

fraudulent insurance applications and sent them to the insurance carrier in order to be

paid the "high commissions," this is similar to Mr. Waesche in this case. Even in the

Binday indictment, the government did not claim that STOLl policies are illegal, and

they are not. Nor does the government claim that STOLl policies are not as profitable as

regular universal life insurance policies. The reason for this is obvious, in that whether

policies are STOLl policies which are premium-financed policies or ones that are self-

financed, the insurance carrier takes the same risk and makes the same profits if the

insured does not die. Therefore, none of these allegations go to the materiality of the

risk or to the elements of the bargain. This is exactly why the district court in United

States v. Kurtz, 2008 WL 1820903 (W.D.N.Y. April 21, 2008), dismissed the indictment

against a scientist accused of mail and wire fraud for allegedly stealing biological

materials and selling them:

       "Our cases have drawn a fine line between schemes that do no more than
       cause their victims to enter into transactions they would otherwise
       avoid-which do not violate the mail or wire fraud statutes-and schemes that
       depend for their completion on a misrepresentation of an essential element
       of the bargain-which do violate the mail and wire fraud statutes.

       In United States v. Regent Office Supply Co., 421 F.2d 1174 (2d Cir.1970),
       the defendants sold stationery, id. at 1176. The defendants' scheme
       consisted of directing their sales personnel to misrepresent their identities to
       prospective customers so that the customers would be willing to entertain
       their offers. See id. (noting, as an example, that the sales personnel
       fraudulently claimed that they had been referred by a friend of the customer
       or an officer of the customer's firm). We concluded that no conviction
       under the mail fraud statute could stand where the misrepresentation was



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       "not directed to the quality, adequacy or price of goods to be sold, or
       otherwise to the nature of the bargain." See id. at 1179.

       United States v. Starr, 816 F.2d 94 (2d Cir.1987), is similar. The defendants
       there collected bulk mailings from their customers and then sent them
       through the post office. See id. at 95-96. At the post office, however, they
       hid high-rate mail in low-rate mail packages, and paid the low-rate price for
       the entire shipments. rd. at 96. The defendants nonetheless charged their
       customers as if the mailings were high-rate, and produced and mailed false
       invoices to show that the high-rate price had in fact been paid. rd. We
       decided that "[t]he misappropriation offunds simply hard] no relevance to
       the object ofthe contract; namely, the delivery of mail to the appropriate
       destination in a timely fashion." Id. at 100. Because "[m]isrepresentations
       amounting only to a deceit are insufficient to maintain a mail or wire fraud
       prosecution," we concluded that such a charge can not apply to situations
       where the alleged victims "received exactly what they paid for" and "there
       was no discrepancy between benefits reasonably anticipated and actual
       benefits received." Id. at 98-99 (intemal quotation marks and citation
       omitted); cf id. at 102 (Newman, J., concurring) ("An indictment for
       defrauding the Postal Service would have led to a conviction that would
       surely have been affirmed. However, the indictment for defrauding the
       customers has led to a conviction that must be reversed.")

Shellef, 507 F.3d at 107-109 (emphasis added).

       Mr. Carpenter respectfully asks this Court to replace the word "customers" with

the word "carriers" and to immediately dismiss the facially defective Indictment against

Mr. Carpenter, as there is nothing that the govermnent can say or do or argue that can

save this facially and fatally defective indictment. Mr. Carpenter requests that the Court

follow the Second Circuit's analysis in Shellef, where the Second Circuit concluded:

       As in Starr, the indictment here does not allege, pursuant to the
       government's "no-sale" theory, that there was a "discrepancy between
       benefits reasonably anticipated" and actual benefits received. And as in
       Regent Office, it fails to allege that [the defendant] misrepresented "the
       nature of the bargain." Instead, the indictment states only that [tl1e
       defendant's] misrepresentation induced [the manufacturer] to enter into a
       transaction it would otherwise have avoided. Because it does not assert that



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       [the defendant's] misrepresentation had "relevance to the object of the
       contract," we do not think it is legally sufficient.

       Shellef, 507 F.3d at 109 (citations omitted).

Kurtz, 2008 WL at *4-*6.

       Just as in Kurtz, the Indictment here is constitutionally infirm and is defective on

its face because it fails to sufficiently allege the "specific intent" to defraud the insurance

carriers out of their property or money, through the use of mailings and wires in

furtherance of the scheme to defraud. As discussed below, the government's "scheme to

defraud" theory is not just specious, but legally invalid. For the purposes of the Court's

analysis, suffice it to say the Indictment is deficient on its face for not only not properly

alleging all five elements of mail and wire fraud, but for not even attempting to explain

how paying premiums to an insurance carrier somehow "defrauds" the insurance carrier

of its money or its property. The government sought to produce a Binday look-a-like

indictment, but Mr. Carpenter did not fill out any applications, sign any applications,

submit any applications, or recruit any "straw-insureds" as Mr. Binday was alleged to

have done in his case.

       Moreover, the big difference between this Indictment and the Binday indictment is

that in this case, all of the policies were issued to a welfare benefit plan known as the

Charter Oak Trust, which eradicates the government's entire theme of the alleged fraud,

because it is black-letter law that the Charter Oak Trust had an inmlediate and automatic

insurable interest at all times in the policies, and therefore they could not possibly be

STOLl policies, where the owner of the policy lacks an "insurable" interest. Thus, it was



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impossible to have any fraud committed by Mr. Carpenter against the carriers based on

the facts alleged in the Indictment, and for that reason it must be dismissed immediately

as a matter oflaw.

          This also explains why no "Money-Laundering" charge can stand here as there is

no "specified unlawful activity" in this case as detailed below, because the proceeds at

issue in this case came from a legitimate insurance claim, the payment of a legitimate

death benefit to a trust, or the payment of a settlement in a lawsuit. There was no illegal

activity being "concealed" or "promoted" here, and to claim that Mr. Carpenter

"knowingly" did anything illegal in the insurance application process is inconsistent with

both the law and the undisputed facts.

   III.      The Indictment Must be Dismissed because it Fails to Assert the Necessary
             Facts to State an Offense under the Mail and Wire Fraud Statutes

          The Indictment as it relates to Mr. Carpenter is also constitutionally deficient

because it contains no description beyond the conclusory allegations referencing the

statute allegedly violated. As such, the Indictment in its current state deprives Mr.

Carpenter of constitutionally fair notice of the charges against him, and for that reason

alone should be dismissed. See Fleisher v. United States, 302 U.S. 218 (1937), for the

proposition, "To be legally sufficient, the indictment must assert facts which in law

constitute an offense; and which, if proved, would establish prima facie, the defendant's

commission of that crime." United States v. Superior Growers Supply, Inc., 982 F.2d

173,177 (6th Cir.1992). See also United States v. Polychron, 841 F.2d 833 (8th Cir.),

cert. denied, 488 U.S. 851 (1988). A bill of particulars cannot cure a legal deficiency in



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the Indictment; rather, the proper result is dismissal of the indictment.   See,~,      United

States v. Russell, 369 U.S. 749, 770 (1 962)("But it is a settled rule that a bill of

particulars cannot save an invalid indictment"). See also United States v. Norris, 281 U.S.

619,622 (1930).

       The Supreme Court has cautioned:

       Undoubtedly the language ofthe statute may be used in the general
       description of the offense, but it must be accompanied with such a
       statement of the facts and circumstances as will infOlID the accused of the
       specific offense, coming under the general description with which he is
       charged.

Hamling v. United States, 418 U.S. 87, 117 (1974). See also United States v. Novak, 443

F.3d 150,159 (2d Cir. 2006) (holding that, absent intent to harm or actual harm,

deception alone does not constitute fraud); United States v. Starr, 816 F.2d 94,98-99 (2d

Cir. 1987) (holding that because the scheme was designed to satisfy [the carriers], rather

than harm the [carriers], the deception did not constitute fraud); United States v. Regent

Office Supply Co., 421 F.2d 1174, 1181 (2d Cir. 1970) (rejecting government's theory

that merely inducing the customers "to part with their money because of the false

representations ... amounted to fraud").

       In the instant matter the Indictment fails to assert facts against Mr. Carpenter

which in law constitute an offense; which, if proven, would establish a prima facie case

of a federal offense. The Indictment alleges that Mr. Carpenter caused money to be

loaned to Charter Oak Trust for funding certain life insurance policies, which is not

illegal. There is no allegation in the Indictment that Mr. Carpenter induced or instmcted

any applicant to fill out an insurance application falsely; he did not. There is no


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allegation that Mr. Carpenter filled out any insurance application on behalf of an insured;

he did not. Even if Mr. Carpenter knew that some third party was submitting false

applications to carriers (he did not know), Mr. Carpenter, unlike Mr. Waesche, had no

legal duty to the carriers. Mr. Carpenter is not licensed as an agent with any of the

carriers in this case.

         In sum, there is no allegation that Mr. Carpenter owed any "honest services" to the

carriers or duty to the carriers; he did not. Mr. Carpenter only agreed to loan or caused to

be loaned money to the Charter Oak Trust, all to his loss. In sum, as the Indictment

relates to Mr. Carpenter, it fails to state a viable claim of mail or wire fraud.

   IV.      The Indictment Against Carpenter Must Be Dismissed Because It Fails To
            Allege Any Money Or Property Actually Lost By The Carriers

         The mail fraud statute renders criminal the use of the mails in furtherance of "any

scheme or artifice to defraud, or for obtaining money or property by means of false or

fraudulent pretenses, representations or promises." 18 U.S.c. § 1341. Although this

formulation might be read disjunctively to provide that obtention of money or property

need not be involved in the case of a "scheme or artifice to defraud," the Supreme Court

reviewed the history of the mail fraud statute in McNally v. United States, 483 U.S. 350,

356-59 (1987), and rejected this interpretation. Id. at 359-60. Accordingly, as the Court

stated in McNally and reiterated in Carpenter v. United States, 484 U.S. 19 (1987), § 1341

"is 'limited in scope to the protection of property rights.'" Carpenter, 484 U.S. at 25

(quoting McNally, 483 U.S. at 360). Nowhere does the Indictment allege that Mr.




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Carpenter "intended" to hurt the carriers or steal money from the carriers. Nor could the

govermnent make such an absurd claim.

       In accordance with McNally and Carpenter, "[t]he essential elements of a mail

fraud violation are (1) a scheme to defraud, (2) money or property [as the object of the

scheme], and (3) use ofthe mails to further the scheme." United States v. Wallach, 935

F.2d 445,461 (2d Cir. 1991) (emphasis added). An in depth analysis by the Second

Circuit of why this Indictment does not properly invoke the necessary element of the mail

and wire fraud statutes because the allegations did not involve the "obtention of money

and property" by fraud within the meaning of § 1341 can be found in United States v.

Miller, 997 F.2d 1010,1012 (1993).

       United States v. Cleveland, 531 U.S. 12 (2000), showed that there must be real

property or money that is the object of the fraud, and not intangibles like "licenses." To

deprive victims of real property or money by fraud, trickery, or chicanery is the only

way to invoke federal court jurisdiction through the mail and wire fraud statutes:

       "Since we hold below that the scheme to fraudulently obtain ATC-IATA
       approval of the Norton-Heritage arrangement was not a scheme to defraud
       anyone of money or property, the mailings and wirings alleged in
       connection with the alleged illegal payments would not constitute mail and
       wire fraud under McNally, even if they could be construed as being in
       furtherance of that scheme. We note, moreover, that the mere fact that these
       mailings and wirings occurred as a result of the scheme to fraudulently
       obtain ATC-lATA approval does not mean they could be construed as
       being in furtherance of that scheme. See,~, United States v. Maze, 414
       U.S. 395, 405 (1973)."

McEvoy, 904 F.2d at 792 n.lO.




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        In the instant matter, there is no claim that any of the insurance carriers referred to

in the Indictment actually lost any money. To the contrary, the carriers made tens of

millions in premium collections and suffered no actual loss. The carriers, in sum, were

not deprived of property. Nor was it the intent of Mr. Carpenter to deprive the carriers of

money or property. The Indictment is filled with speculation and specious theories about

possible loss by the carriers through other "STOLl" policies, but there is no specific

claim of actual loss of money or property, or allegations that Mr. Carpenter intended any

of the carriers to suffer any loss, which is the sine qua non of fraud; he did not. The

Indictment, as it relates to Mr. Carpenter must be dismissed.

   V.      The Indictment Must Be Dismissed Because The Mailings and Wires Had
           Nothing to Do With the Scheme and Were After the Scheme Had Come to
           Fruition

        Illustrative of this point is a recent decision by New York Judge Jed Rakoff, sitting

by designation in the Ninth Circuit, where the defendant defrauded his own company

through phony billing and caused the payments for the falee bills sent to a woman friend,

who bought him an expensive watch that she then sent to him. The gift of the watch had

nothing to do with the fraud, yet it was that mailing, after the fraud was accomplished

(the money was in her hands already from the fake billing), on which the goverrnnent

relied. The Ninth Circuit reversed the defendant's mail fraud conviction, concluding that

the success of the alleged scheme did not depend in any way on the use of the mails.

United States v. Phillips, 704 F.3d 754,763 (9th Cir. 2012).

        In the present case, the goverrnnent has largely copied - almost verbatim - the

description of Stranger Owned Life Insurance (STOLl) from the indictment in United


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States v. Binday, 908 F. Supp. 2d 485 (SDNY 2012), in which the mailings charged were

the commission checks sent to the alleged fraudsters. Here, by contrast, the Charter Oak

Trust paid the carriers, but the charged mails and wires conduct relative to Mr. Carpenter

took place well after the completion of the alleged fraud, which was the submission of

alleged false information in applications that resulted in the issuance of insurance

policies. The only apparent fraud in this case was caused by the "Binday"-type

agent/brokers (e.g., Mr. Waesche), who allegedly conspired with the insureds to lie on

insurance applications and then lie during their Personal History Interviews. It is

undisputed, and the government's own indictment demonstrates, that Mr. Carpenter did

not fill out, sign, or submit any of the applications at issue in this case. In everyone of

these listed cases, the policy was already approved by the carrier before Mr. Carpenter

arranged for the funding arrangement with his outside funds. Financing life insurance

premiums as a lender (e.g. the "banker") is not a crime, and selling life insurance policies

is not a crime, not even if they happen to be STOLl policies (which may explain why no

one from the hedge funds involved - Ridgewood, Caldwell, or Plainfield - was indicted

as well). In sum, the factual allegations contained in the Indictment as opposed to the

"conclusions" or "speculation" contained in the Indictment, do not support valid claims

of mail or wire fraud against Mr. Carpenter; hence, the Indictment should be dismissed as

a matter oflaw.

   VI.      The Conspiracy Count Must Be Dismissed as a Matter of Law

         If there is no Mail & Wire Fraud crime, it is legally impossible to have a

conspiracy to commit mail and wire fraud under Section 1349. The Indictment's


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conspiracy count must be dismissed because it does not allege sufficient facts of who,

what, when, where, and why to show that Mr. Carpenter willfully joined a conspiracy to

willfully violate the law. The only acts that count as an overt act of the conspiracy would

be filling out the allegedly false or fraudulent applications, most of which were done

before June of 2008 and all of which were done by people other than Mr. Carpenter. The

Indictment does not even allege what the actual conspiracy was and who was part of the

conspiracy, as is required by law.    See,~,   the Supreme Court's decision in Russell v.

United States, 369 U.S. 749 (1962).

          The conspiracy count must also be dismissed because it fails to allege any

"knowledge" on the part of the alleged conspirators (whoever "they" are, since the

identity of the alleged "co-conspirators" is not even mentioned) that they were even

willfully participating in an illegal conspiracy. One of the elements which has been

considered indispensable to an indictment for a conspiracy is knowledge; e.g.,

knowledge that justice was or will be administered or the law broken. In Pettibone v.

United States, 148 U.S. 197 (1893), the defendants were charged with encouraging mine

workers to disobey an injunction, and the Supreme Court, in reversing their conviction,

stated:

          It seems clear that an indictment against a person for. .. endeavoring to
          influence or impede a witness or officer in a court of the United States in
          the discharge of his duty, must charge a knowledge or notice, on the part of
          the accused .... Un1ess that fact exists, the statutory offense cannot be
          committed ... and without such knowledge or notice, the evil intent is
          lacking.

Id. at 206-207.



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       This requirement of a direct and explicit allegation in an indictment was reiterated

by the United States Court of Appeals for the Fourth Circuit in Asgill v. United States, 60

F.2d 780 (4th Cir. 1932), in which the court held that merely alleging the means intended

to be used cannot be taken inferentially to support a conspiracy indictment, unless the

essential elements of unlawful agreement and purpose have been fully and clearly stated.

The court further stated: "When the charge is laid, however, the terms of the agreement

must be set forth therein and until this is done evidence of the conduct of the parties

cannot be held to be competent or responsive to the then alleged agreement." Id. at 785.

In Direct Sales Co. v. United States, 319 U.S. 703 (1943), the Supreme Court affmned

the position it had taken in the Pettibone case fifty years prior and stated:

       Without the knowledge, the intent cannot exist. ... Furthermore, to establish
       the intent, the evidence of knowledge must be clear, not equivocal. ... This,
       because charges of conspiracy are not to be made out by piling inference on
       inference, thus fashioning ... a dragnet to draw in all substantive crimes.

Id. at 711.

       In Ingram v. United States, 360 U.S. 672 (1959), the Supreme Court again

considered the intent element in a conspiracy indictment and after, quoting with approval

its holding in the Direct Sales Co. case, stated: "Conspiracy to commit a particular

substantive offense cannot exist without at least the degree of criminal intent necessary

for the substantive offense itself." Id. Perhaps the most eloquent plea for the limitation of

prosecutions for criminal conspiracy was written by Justice Jackson in his concurring

opinion in Kmlewitch v. United States, 336 U.S. 440 (1949), in which he stated:

       The modern crime of conspiracy is so vague that it almost defies
       description. Despite certain elementary and essential elements, it also,


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       chameleon-like, takes on a special coloration from each of the many
       independent offenses on which it may be overlaid.

rd. at 446-447.

       Most other countries have devised what they consider more discriminating
       principles upon which to prosecute criminal gangs, secret associations and
       subversive syndicates.

rd. at 453.

       However, even when appropriately invoked, the looseness and pliability of
       the doctrine present inherent dangers which should be in the background of
       judicial thought whenever it is sought to extend the doctrine to meet the
       exigencies of a particular case.

rd. at 449.

       As the Supreme Court teaches us in Morissette v. United States, 342 U.S. 246

(1952), for there to be a crime, an evil act must be concurrent with an evil mind. "Crime,

as a compound concept, generally constituted only from concurrence of an evil-meaning

mind with an evil-doing hand, was congenial to an intense individualism and took deep

and early root in American soil," quoting Justice Holmes' famous observation that

"[ e]ven a dog distinguishes between being stumbled over and being kicked." rd. at 251-

52. Therefore, since the Indictment is devoid of any "evil acts" actually done by Mr.

Carpenter and any "evil mind" is pure conjecture on the part of the government, the

Indictment should be dismissed in its entirety because it fails to adequately describe the

"concurrence" between "an evil meaning" mind and an evil act. Because of the specific

lack of any reference to anyone having knowledge of a conspiracy involving the Charter

Oak Trust, the conspiracy count clearly must be dismissed.




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       Only if and when said applications were approved by the respective carriers after

they themselves carried out their own in-depth due diligence and underwriting process,

and only after the respective carriers' own approved licensed broker confinned the

suitability of the targeted insured, did Mr. Carpenter get involved (like a banker) in

providing money to the Charter Oak Trust to fund the policies. At no time did Mr.

Carpenter represent to the respective carriers the nature of any premium financing that

form the basis of the Indictment. Hence, as to Mr. Carpenter, as a matter oflaw the

Conspiracy Count must be dismissed.

   VII.   The Aiding and Abetting Allegations Must Be Dismissed because There is
          No Crime Alleged in the Indictment.

       The Indictment in this case was apparently patched together as a hodgepodge of

normal business actions following the submission of insurance applications with

allegedly false statements in them made by the broker or by the insured (but not by Mr.

Carpenter), without each of the counts being considered in relation to the applicable legal

elements. Perhaps the best example of that is that the government has used its "stand-by"

charge of aiding and abetting to charges for which it cannotlegally apply. Counts 1-33

each allege a substantive offense, but has also included the standard throw-away

reference to 18 U.S.C. §2. In this case, that section cannot apply as a matter oflaw. It

certainly cannot apply to Mr. Carpenter if the government wants to allege that Mr.

Carpenter is the "criminal mastermind" behind the alleged Charter Oak Trust conspiracy.

       While it is theoretically possible for two or more people to conspire to commit

mail andlor wire fraud, that is not what is charged here. Instead, the Indictment alleges



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that Mr. Carpenter committed the substantive offenses, somehow, as an alleged "Svengali

of STOLl" as if STOLl was somehow per se evil. If Mr. Carpenter is found not guilty of

the substantive offense, the offense was not committed by anyone and there would be no

other person for Mr. Carpenter to have aided and abetted in committing a substantive

offense. Consequently, the aiding and abetting counts cannot stand.      See,~,    California

v. Roy, 519 U.S. 2, 3 (1996) (reversing aiding and abetting conviction because jury was

not told it must find the defendant intended to aid another in committing the crime);

Standefer v. United States, 447 U.S. 10, 19 (1980) (aiding and abetting requires

defendant to aid another in committing an offense); Nye & Nissen v. United States, 336

U.S. 613, 619 (1949) (aiding and abetting is "a rule of criminal responsibility for acts

which one assists another in performing").

       Furthermore, if there is no crime properly alleged in the Indictment, there can be

no "aiding and abetting" of that crime. Moreover, the govermnent has failed to state

which party is the principal of the crime, and which party is the aider and abetter, which

also requires dismissal of the Count because it is unknown whether the Grand Jury

indicted Mr. Carpenter as a principal or as an aider and abetter, and it is clear that one

caunot be tried for both. This discrepancy perhaps could be cured by a bill of particulars,

but it is black-letter law that a faulty and facially defective indictment cannot be saved by

any bill of particulars.   See,~,   the Supreme Court's ruling in United States v. Russell,

369 U.S. 749, 770 (1962); "But it is a settled rule that a bill of particulars cannot save an

invalid indictment. See United States v. Norris, 281 U.S. 619, 622; 4 Anderson,

Wharton's Criminal Law and Procedures 1870."


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       Since the alleged fraud is filling out and submitting allegedly fraudulent insurance

applications, the Indictment must be dismissed as to Mr. Carpenter because he never

helped or assisted any of the supposed "Straw-Insureds" in filling out an insurance

application, let alone submitting it to a carrier. In fact, Mr. Carpenter is not licensed

with any of the carriers, so he would not be able to sign as an agent on the case in any

event and his submitting of the application would have resulted in it being returned and

declared a nullity. Therefore, Mr. Carpenter could not have acted as a principal or as an

"aider" on filling out the applications. But, even if he did, there would be no crime here

as Mr. Carpenter's company's goal was to pay the premiums to fund the policies, not

harm the insurance carriers by taking their money or property by chicanery and deceit.

Mr. Carpenter's company paid premiums to the insurance carriers. That is not a crime.

No carrier ever accused Mr. Carpenter or his company of any fraudulent activity, and Mr.

Carpenter never filled out, signed, nor submitted any of the allegedly fraudulent

insurance applications listed in the Indictment. Nor does the Indictment state that Mr.

Carpenter did anything regarding the applications themselves, so he did not "aid and

abet" anyone. Therefore, as to Mr. Carpenter, the aiding and abetting allegations must be

dismissed as a matter oflaw.

   VIII. The Indictment Must Be Dismissed as Connecticut is Not the Proper Venue for
         These Counts

       Both Rule 18 of the Federal Rules of Criminal Procedure and the Constitution

require that a person be tried for an offense where that offense is committed. Indeed, the

Constitution protects a criminal defendant's right to proper venue in two places: Article



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III, and the Sixth Amendment. United States v. Cabrales, 524 U.S. 1,5 (1998); see also

United States v. Anderson, 328 U.S. 699, 703 (1946) ("[TJhe locus delicti must be

determined from the nature of the crime alleged and the location of the act or acts

constituting it."). In a criminal case, "venue must be narrowly construed." United States

v. Jefferson, 674 F.3d 332,365 (4th Cir. 2012). "Venue .. .is an element ... which must be

proved ... by a preponderance of the evidence." United States v. Miller, 111 F.3d 747,

749-50 (lOth Cir. 1997).

       An example ofthe strength of those protections is manifested in the principle that,

when an indictment charges a defendant with multiple counts, "venue must be proper

with respect to each count." United States v. Beech-Nut Nutrition Com., 871 F.2d 1181,

1188 (2d Cir. 1989). The Indictment, however, lists Straw Insureds and outside brokers

from as far away as Texas and California. Specifically, Counts 1,2,3,4,6,7,8,9,10,

11, 12, 13, 14, 15, 16, 17, 18, 19,20,22,23,26 of the Indictment concern non-resident,

non-Connecticut insureds, that Mr. Carpenter never met with nor talked to, nor helped in

any way to fill out their allegedly false insurance applications. Not only is this a fact, the

Indictment does not allege anything different, but Mr. Carpenter is the indicted person

here; not the people that filled out the applications, signed the applications, or submitted

the allegedly false applications to the insurance carriers. In fact, only two of the alleged

Straw Insureds are from Connecticut, and there is nothing alleged in the Indictment that

says Mr. Carpenter had anything to do with the applications of these two Straw Insureds.

       To the contrary, already convicted insurance agent, Joseph Edward Waesche,

(United States v. Waesche IV, 3:13CR224(RNC)), who confessed to conspiring with


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various insurance applicants and brokers all across the country to submit false

applications to various carriers, and a subject of this Indictment, met with these

unindicted applicants and/or others on their behalf out of state, including New York.

Waesche has admitted to defrauding the carriers, but more importantly, he committed an

outright fraud on the Charter Oak Trust as well as Mr. Carpenter's company, Grist Mill

Capital, LLC. Nowhere in the Indictment does the government allege the facts sufficient

to show any criminal activity by Mr. Carpenter anywhere, as opposed to Waesche who

has already confessed to a pattern of fraud. Nowhere in the Indictment does the

government allege the necessary "core of criminality" that occurred in the District of

Connecticut. Instead, the Indictment goes on for more than 40-50 pages talking about the

activity of other people, including the unindicted Straw Insureds.

       The Straw Insureds lived in other states, as did their agents and brokers that

submitted the allegedly false insurance applications. The carriers, such as Lincoln and

Penn Mutual, conducted their business out of state as well, wherever their agents did

business. There is an insufficient nexus for said counts to be prosecuted in Connecticut,

and the government must prove Venue with a preponderance of the evidence, which is

impossible in this case just based on the conclusory allegations made by the government

in the Indictment. Hence, all of these specific counts should be dismissed for lack of

proper venue, and especially as to Mr. Carpenter the Indictment must be dismissed in its

entirety because he had nothing to do with these applications. See United States v.

Auernheimer, Crim. No. ll-cr-470 (SDW) (3d Cir. April 11, 2014).




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       As explained in the Third Circuit's recent decision in Auernheimer, these

constitutional protections as to venue manifest a strong constitutional policy disfavoring

trials removed from the situs of the alleged criminal activity. Mr. Carpenter did nothing

wrong, illegal, or criminal in the District of Connecticut, and yet the people who did fill

out, sign, and submit the allegedly false insurance applications for the Straw Insureds in

other states remain unindicted, and that means even as part of a conspiracy, the District of

Connecticut is not only the wrong jurisdiction for this case, but also the wrong venue.

       "Venue is proper only where the acts constituting the offense - the crime's

'essential conduct elements' - took place." United States v. Tzolov, 642 F .3d 214, 218

(2d Cir. 20Il)(referencing United States v. Rodriguez-Moreno, 526 U.S. 275, 280

(1999». "[TJhe site of a charged offense must be determined from the nature of the

crime alleged and the location of the act or acts constituting it." Anderson, at 703.

       "Where a federal statute defining an offense does not explicitly indicate
       where a criminal act is deemed to have been committed, the site of a
       charged offense must be determined from the nature of the crime alleged
       and the location of the act or acts constituting it." Svoboda, 347 F.3d at
       482-83. "[VJenue is proper in a district where (1) the defendant
       intentionally or knowingly causes an act in furtherance of the charged
       offense to occur in the district of venue or (2) it is foreseeable that such an
       act would occur in the district of venue." Id."

United States v. Geibel, 369 F.3d 682, 696 (2d Cir. 2004).

See also United States v. Brennan, 183 F.3d 139,147 (2d Cir. 1999) (holding that

"prosecution under the mail fraud statute is permissible only in those districts in which a

proscribed act occurs").




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       The Second Circuit has enumerated four factors used to determine whether venue

is constitutionally permissible: (1) the site of the defendant's acts; (2) the elements and

nature of the crime; (3) the locus of the effect of the criminal conduct; and (4) the

suitability of the district for accurate fact finding. United States v. Reed, 773 F .2d 447,

481 (2d Cir. 1985); see also Beech-Nut, supra.

       "[T]he constitutional underpinning and importance of proper venue dictate that

waiver of objections to venue should not be readily inferred." United States v. Price, 447

F.2d 23, 27 (2d Cir. 1971). That being the case, the Second Circuit has found a waiver of

the right to challenge venue in a criminal trial only under extraordinary circumstances.

One such circumstance is "when the indictment or statements by the prosecutor clearly

reveal [a venue] defect but the defendant fails to object." Id.; see also United States v.

Khan, 821 F.2d 90,93 (2d Cir. 1987) (finding waiverin light of a clear defect in venue

apparent on the fact of the indictment); United States v. Levasseur, 816 F.2d 37,45 (2d

Cir. 1987) (agreeing with the district court that defendant had waived his right to contest

venue at the close of evidence where "the indictment gave clear notice of venue

defects."). These cases establish a clear rule concerning the timeliness of a defendant's

objection to venue in a criminal action. When the defect in venue is apparent on the face

of the indictment, a defendant waives the right to contest the issue ifhe or she fails to

object prior to trial. Therefore, Mr. Carpenter respectfully requests this Court to

immediately dismiss this Indictment for an obvious failure to establish proper venue in

the Indictment.




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       In United States v. Bezmalinovic, 962 F. Supp. 435 (S.D.N.Y. 1997), the court

dismissed a bank fraud charge for lack of venue. The indictment charged a scheme to

defraud Manufacturers Hanover Trust ("MHT") by obtaining a mortgage using a false

application. Bezmalinovic allegedly prepared a false application in the Eastern District

of New York ("E.D.N.Y."), submitted the application to MHT in the E.D.N.Y., more

commonly known as Brooklyn, received proceeds via checks drawn on an accolmt in the

E.D.N.Y., and then deposited those checks into his account in the E.D.N.Y.

       The govermnent argued that venue was proper in the S.D.N.Y. because, after the

checks were deposited into a Chemical Banl( account in the E.D.N.Y., the checks were

sent to a processing center in Manhattan where each check was credited to

Bezmalinovic's account, and each check was then forwarded to a clearing house in

Manhattan. Finally, the checks were sent to MHT's processing center in Manhattan,

where they were debited from MHT' s closing aCCOlmt. However, the court in

Bezmalinovic did not agree with the government's determination of venue and held that

the ministerial processing of the checks in Manhattan did not provide a sufficient

constitutional basis for venue in the S.D.N.Y. The court further noted that the "only acts

alleged to have occurred in the [S.D.N.Y.] are the ministerial actions taken by MHT and

Chemical B~ in the process of crediting defendant's accowt." Id. at 437. In addition,

the court stated that the indictment did "not allege[] that those acts were intended or

foreseen by defendant." Id. The court concluded that the ministerial acts of debiting and

crediting accowts as alleged in the indictment did not constitute "substantial contacts"

with the S.D.N.Y. sufficient for venue to be constitutionally permissible. Id. at 441.


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         Moreover, in United States v. Nov§k, 443 F.3d 150 (2d Cir. 2006), the defendant

challenged jurisdiction in the Eastern District of New York when the evidence showed

(and the government agreed) that the alleged offenses took place in the Southern District

of New York; just one subway stop away. In this case, the Indictment clearly shows that

the alleged frauds were committed outside of Connecticut, and therefore Connecticut is

not the proper venue for these charges to be brought, so the Indictment should be

dismissed in its entirety for lack of proper venue.

   IX.      ALL OF THE INDICTMENT'S MONEY LAUNDERING COUNTS
            MUST BE DISMISSED AS A MATTER OF LAW

         A criminal defendant is entitled to an indictment that sets forth the essential

elements of the charge against him. See,     ~      United States v. LaSpina, 299 F.3d 165,

177 (2d Cir. 2002). Rule 7(c)(I) provides that "[t]he indictment. .. must be a plain,

concise, and definite written statement ofthe essential facts constituting the offense

charged." FED. R. CRIM. P. 7(c)(1). A count is insufficientforlack of specificity if a

defendant can show that "the indictment, liberally construed, was not 'sufficient to

identify the offense which [he] conspired to commit.'" LaSpina, 399 F.3d at 177-78.

         To sustain the substantive money laundering charges, the govermnent must

establish that Mr. Carpenter (1) knowing that the property involved in a financial

transaction represented the proceeds of some form of nnlawful activity, (2) conducted

or attempted to conduct a financial transaction, (3) which in fact involved the proceeds

of specified unlawful activity, (4) either with (a) the intent to promote the carrying on

of specified unlawful activity or (b) the knowledge that the transaction was designed at



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least in part to conceal or disguise the nature, location, source, ownership, or control of

the proceeds of specified unlawful activity. See 18 U.S.C. § 1956(a); United States v.

Gotti, 459 F.3d 296,334 (2d Cir.2006).

       In order to establish that a defendant committed a "money laundering" offense or

conspired to launder money in violation of 18 U.S.C. §1956(h) or §1957, the government

must show that the defendant agreed to: (1) conduct a financial transaction; (2) involving

the proceeds of some Specified Unlawful Activity (SUA); (3) knowing that the

property involved in the transaction represented the proceeds of some form of unlawful

activity; and (4) knowing that the financial transaction was designed in whole or in part

to conceal or disguise the nature, source, location, ownership, or control of those

proceeds. United States v. Hassan, 578 FJd 108, 127-28 (2d Cir. 2008).

       The Second Circuit as well as several other circuits, has distinguished between the

underlying crime that produces tainted proceeds and any subsequent financial transaction

intended to launder those illegal proceeds. United States v. McCarthy, 271 F.3d 387,395

(2d Cir. 2001). Absent this distinction, any crime involving a fmancial transaction could

simultaneously constitute money laundering.

       From the above-described cases, one can derive that the essence of a "money-

laundering" allegation in any indictment to survive a dismissal challenge must clear! y

allege and state the "core of criminality" that a defendant is charged with. There are four

indispensable elements of the money-laundering statutes, all of which must be

specifically and clearly alleged for an indictment to be deemed sufficient to survive a

dismissal challenge:


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       1. Proceeds from an underlying Specified Unlawful Activity (SUA);

       2. Actual knowledge that the proceeds are from some SUA;

       3. Actual use of the proceeds from the SUA;

       4. Actuallmowledge and intent to use the proceeds of the SUA in order to

          conceal the true nature of the proceeds or to promote the illegal SUA in some

          manner.

       Far from stating a valid "money-laundering" complaint, the Indictment is just a

rendition of "money moving" between valid entities for well-documented and legitimate

purposes. In fact, the govermnent claims in Paragraph 133 that "the defendants used the

death benefit funds to pay for, among other things, .. .insurance premiums, and a home

in Rhode Island." This statement is surplusage that would be struck from any indictment

because it fails to state any type of criminal offense, much less "money laundering".

       The gist of the government's "non-crime" is that Straw Insured-13 ("SI-13")

signed up for an insurance policy with Lincoln in December of2006. (Ind. P. 123).

Despite the Court telling the govermnent not to add any more Straw Insureds, the

government felt it was necessary to add this case in order to help the lawyers representing

the bogus charity, Universitas, LLC in its civil lawsuit against the Charter Oak Trust in

New York. From Paragraphs 123-133, the only thing Mr. Carpenter is accused of is

signing the funding agreement. Nowhere is it alleged that Mr. Carpenter had anything to

do with the recruitment of SI-13, a resident of Florida (wrong venue again), in 2006-

(well outside any statute of limitations for any crime) - or the filling out, signing, or

submission of any application for SI-13.


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       As discussed above, even if someone did submit a false insurance application, it

was not Mr. Carpenter, and the reason why Mr. Carpenter knows that the application

probably was not fraudulent is because of the year-long investigation of SI-13' s insurance

application and death claim caused by his death inside the life insurance contestability

period. See Ind. P. 130. This is important for two reasons for the Court's ultimate

dismissal of this entire Indictment. First, if someone lies on an insurance policy and then

dies during the contestability period, the insurance claim and payment of the death

benefit can be challenged by the carrier. Lying on an insurance application is not a

crime, even though it may be a breach of contract.

       Second, if the insurance carrier discovers that an application is a total fraud, as has

happened in several famous STOLl lawsuits, the carrier has up to six years to order the

contract rescinded for fraud. In the state of Connecticut, an insurance carrier arguing for

rescission due to fraud must refund all premiums paid to the owner of the policy before

the policy can be rescinded. All circuits recognize that a breach of contract does not rise

to the level of criminal fraud.   See,~,   Regent Office and Kurtz, supra. Therefore, there

is no SUA even suggested here, much less properly alleged.

       This is critical because Paragraph 131 is fatal to the entire Indictment, and

especially the "money-laundering" counts that follow Counts 35-57. Paragraph 131

acknowledges that Bursey, on behalf of the Charter Oak Trust, sued Lincoln for the death

benefit under the two insurance policies, and 10 days later Lincoln paid both policies'

death benefits of over $30 million. This is after an exhaustive year-long investigation.

Big insurance carriers do not payout "fraudulent" death claims from "fraudulent"


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applications, especially ifthey think STOLl is involved. Nonetheless, Lincoln paid the

claim, when many other big insurance carriers were being sued by state and federal

regulators for failure to pay legitimate claims, much less "disputed" claims like this one.

       This simple fact requires that the entire Indictment be dismissed for failure to

invoke this Court's jurisdiction as well as for failure to state a criminal offense. The $30

million was paid either as a legitimate death claim or as settlement ofthe Bursey lawsuit

in Paragraph 131. Even assuming arguendo that SI-13's life insurance application was

totally fraudulent, that does not make Lincoln's payment of$30 million to the Charter

Oak Trust the "proceeds" of some unlawful SUA as required by all of the money-

laundering statutes. Moreover, if SI -13' s application was not fraudulent, then there is a

good chance that none of the applications are fraudulent. Even if they were fraudulent,

we know that lying on an insurance application does not rise to the level of mail and wire

fraud. But, assuming that were the case, Mr. Carpenter did not fill out, sign, or submit

any of those applications, and nowhere in the Indictment does it say that Mr. Carpenter

even met with these Straw Insureds to induce them to lie on their insurance applications,

if in fact they did. Without that detail describing the "core of criminality," all of the

Counts of the Indictment are defective on their face and must be dismissed.

       Moreover, it will be a legal and a factual impossibility for the government to

prove that Mr. Carpenter had knowledge that the proceeds were from a SUA. Even the

Indictment refers to the $30 million as "death benefit funds" to pay for "insurance

premiums" as well as the "home" in Rhode Island. Also in Paragraph 133 is the

statement: "The death benefit fuuds were passed through various bank accounts


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controlled by Carpenter and other working for or with the defendants." Without specific

knowledge of an SUA, without real SUA proceeds, and without knowledge and intent to

conceal the nature of the SUA or to promote the SUA, all of the Indictment's Counts

must be dismissed. Because, without knowledge, specific intent, and proceeds from an

SUA, a "money-laundering" indictment just becomes a chronicle of bank statements and

"money moving," which is not a crime anywhere. See, Hassan, supra. See, also, United

States v. Faulkenberry, 614 F.3d 573 (6th Cir. 2010).

                                    CONCLUSION

      For the above reasons, Mr. Carpenter moves this honorable Court to immediately

dismiss the Indictment.

                                         Defendant, Daniel Carpenter



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                                     CERTIFICATION


       This is to certify that on January __, 2014, a copy of the foregoing Motion was

served by email to all parties by operation of the Court's electronic filing system or by

mail on anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court's CMIECF System. Also sent to

the following by U.S. postal mail:


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